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 1                                UNITED STATES DISTRICT COURT

 2                                        DISTRICT OF NEVADA

 3 UNITED STATES OF AMERICA,                                   Case No.: 2:12-cr-0268-JAD-CWH

 4             Plaintiff

 5 v.                                                                  Order Regarding
                                                                         Restitution
 6 YOUNG HIE CHOI,

 7             Defendant

 8            Young Hie Choi pled guilty to conspiring to commit money laundering in violation of 18

 9 USC § 1956(h) and was sentenced to five years of probation.1 In her plea agreement, Choi

10 agreed “to make full restitution, jointly and severally, in the amount to be determined by the

11 Court, to include all of the losses [she] caused by her criminal scheme, whether charged or

12 uncharged, pled to or not, and by all of her relevant conduct as determined by the Court.”2 A

13 separate evidentiary hearing was held to consider the appropriate amount of restitution,3 and the

14 parties submitted post-hearing briefs summarizing their positions.4 Having thoroughly

15 considered all of the evidence, the record, and the parties’ briefing and arguments, I order

16 Young Hie Choi to make restitution in the amount of $955,236.10, jointly and severally

17 with the other defendants in this action.

18                                                Discussion

19            There is no dispute that Choi’s offense of conviction gives rise to mandatory restitution

20 under the Mandatory Victims’ Restitution Act (MVRA), nor that her crime “involves as an

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     1
         ECF Nos. 157 (plea agreement), 204 (2/21/18 judgment).
22 2
         ECF No. 157 at 16.
23 3 See 2/16/18 hearing minutes at ECF No. 203.
     4
         ECF Nos. 206, 207.
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 1 element a scheme, conspiracy, or pattern of criminal activity” entitling “any person directly

 2 harmed” by her conduct to restitution.5 The government has the burden of establishing by a

 3 preponderance of the evidence that the victim’s damages were caused by the conduct that the

 4 defendant was convicted of, and “restitution may compensate victims only ‘for actual losses

 5 caused by the defendant’s criminal conduct.’”6 The central question here is what amounts make

 6 up the actual losses caused by Choi’s conduct.

 7            Choi was just one participant in a multi-party conspiracy that involved shell companies

 8 and false identities set up to process millions of dollars in fraudulent credit-card transactions.

 9 The government has grouped these transactions into various categories, all reflected on a

10 comprehensive chart that it offered as Exhibit 3A at the evidentiary hearing.7 Based on the

11 testimony and evidence offered at the hearing, I find that the actual losses caused by Choi’s

12 conduct are only those in Columns A and E. These amounts represent the “Total Transaction

13 Loss” of $931,552.69 plus the $23,683.41 in additional losses. I find that the evidence

14 establishes by a preponderance of the evidence that these losses are all attributable to the specific

15 offense-of-conviction conduct of Choi in this criminal scheme.

16                                               Conclusion

17            Accordingly, IT IS HEREBY ORDERED that Choi must pay restitution in the amount

18 of $955,236.10, jointly and severally with the other defendants in this action, and THE

19 CLERK OF COURT is directed to ENTER an AMENDED JUDGMENT reflecting this

20 restitution order. The Government must immediately provide the court with a Restitution and

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     5
22       18 U.S.C. § 3663A(a)(2).
     6
    United States v. Peterson, 538 F.3d 1064, 1075 (9th Cir. 2008) (quoting United States v.
23 Gamma Tech Indus. Inc., 265 F.3d 917, 926 (9th Cir.2001)).
     7
         Available in a much smaller-print version at ECF No. 202-1.

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 1 Payees List that corresponds with the victims and amounts identified in the government’s Exhibit

 2 3A, columns A & E only, and that list will be attached to the amended judgment.

 3        Dated: May 17, 2018

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                                                          U.S. District Judge Jennifer A. Dorsey
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